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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION

ROBERT (BOB) ROSS                           §
                                            §
VS.                                         §   CIVIL ACTION NO. 4:22-CV-343-Y
                                            §
ASSOCIATION OF PROFESSIONAL                 §
FLIGHT ATTENDANTS, ET AL.                   §

           ORDER OF REFERRAL FOR MEDIATION IN NOVEMBER 2023

        After reviewing the joint status report (doc. 28) submitted by

the parties, the Court concludes that this cause should be, and it

is hereby, REFERRED FOR MEDIATION to be conducted at a mutually

agreeable time and location during the month of November 2023.

        The parties shall agree on an impartial mediator no later than

September 1, 2023, and shall file with the clerk of the Court a

notice of designation of mediator that includes the mediator's

name, address, telephone number, facsimile number, and e:mail

address.       If the parties are unable to agree on an impartial

mediator, the Court will appoint one at either party's written

request.

        Mediation is a mandatory but non-binding settlement confer-

ence, conducted with the assistance of a mediator.                    Mediation is

private,       confidential,       and    privileged     from   discovery.   After

mediation, the Court will be advised by the mediator, parties and

counsel only that the case did or did not settle.                     The mediator

shall    not    be   a   witness    nor    shall   the   mediator's    records   be

subpoenaed or used as evidence.

        Fees for the mediation are to be divided and borne equally by

the parties unless agreed otherwise and shall be paid by the
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parties directly to the mediator. Each party and its counsel shall

be bound by the Rules for Mediation, attached as Exhibit A hereto,

and shall complete such information forms as are furnished by the

mediator.

       Named parties shall be present during the entire mediation

process     and   each   corporate   party   must     be   represented   by   an

executive officer with authority to negotiate a settlement.

       No subpoenas, summonses, citations, or other process shall be

served at or near the location of any mediation session, upon any

person entering, leaving, or attending any mediation session.

       Counsel and parties shall proceed in a good faith effort to

resolve this case during the mediation proceedings.             No later than

September 1, 2023, the parties shall agree upon a mediation date

during the month of November 2023.             If no agreed date can be

scheduled, then no later than September 29, 2023, the mediator

shall select a date and all parties shall appear as directed by the

mediator.

       The mediator, as a condition to accepting appointment, is

directed to complete the Alternate Dispute Resolution Summary (“ADR

Summary”) attached as Exhibit B to this order and electronically

file the ADR Summary no later than seven (7) days from the date of

mediation.1




1
  This case has been assigned to the Electronic Case Filing (“ECF”) system and
once assigned, all pleadings must be filed electronically. If the mediator is
unable to electronically file the ADR Summary form, the mediator should return
the form to Plaintiff’s counsel for filing with the clerk.

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     If the parties' differences are resolved by mediation, an

agreed motion to dismiss or stipulation of dismissal signed by

counsel for all parties shall be filed no later than twenty-one

(21) days from the date of mediation.

     Failure to comply timely with this order will result in the

appropriate sanctions, possibly including entry of dismissal or

default judgment without further notice.

     SIGNED February 22, 2023.

                                        ____________________________
                                        TERRY R. MEANS
                                        UNITED STATES DISTRICT JUDGE




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                                              EXHIBIT A
                                                 TO
                                   ORDER OF REFERRAL FOR MEDIATION

                                              RULES FOR MEDIATION

1.     Definition of Mediation. Mediation is a process under which an impartial person, the mediator, facilitates
communication between the parties to promote reconciliation, settlement or understanding among them. The mediator
may suggest ways of resolving the dispute, but may not impose his own judgment on the issues for that of the parties.

2.       Agreement of Parties. Whenever the parties have agreed to mediation they shall be deemed to have made
these rules, as amended and in effect as of the date of the submission of the dispute, a part of their agreement to mediate.

3.      Consent to Mediator. The parties consent to the appointment of the individual named as mediator in their
case. The Mediator shall act as an advocate for resolution and shall use his best efforts to assist the parties in reaching
a mutually acceptable settlement.

4.       Conditions Precedent to Serving as Mediator. The Mediator shall not serve as a mediator in any dispute in
which he has any financial or personal interest in the result of the mediation. Prior to accepting an appointment, the
Mediator shall disclose any circumstance likely to create a presumption of bias or prevent a prompt meeting with the
parties. In the event that the parties disagree as to whether the Mediator shall serve, the Mediator shall not serve.

5.      Authority of Mediator. The Mediator does not have the authority to decide any issue for the parties, but will
attempt to facilitate the voluntary resolution of the dispute by the parties. The Mediator is authorized to conduct joint
and separate meetings with the parties and to offer suggestions to assist the parties achieve settlement. If necessary,
the Mediator may also obtain expert advice concerning technical aspects of the dispute, provided that the parties agree
and assume the expenses of obtaining such advice. Arrangements for obtaining such advice shall be made by the
Mediator or the parties, as the Mediator shall determine.

6.      Commitment to Participate in Good Faith. While no one is asked to commit to settle their case in advance
of mediation, all parties commit to participate in the proceedings in good faith with the intention to settle, if at all
possible.

7.       Parties Responsible for Negotiating Their Own Settlement. The parties understand that the Mediator will
not and cannot impose a settlement in their case and agree that they are responsible for negotiating a settlement
acceptable to them. The Mediator, as an advocate for settlement, will use every effort to facilitate the negotiations of
the parties. The Mediator does not warrant or represent that settlement will result from the mediation process.

8.      Authority of Representatives. PARTY REPRESENTATIVES MUST HAVE AUTHORITY TO SETTLE
AND ALL PERSONS NECESSARY TO THE DECISION TO SETTLE SHALL BE PRESENT. The names and
addresses of such persons shall be communicated in writing to all parties and to the Mediator.

9.      Time and Place of Mediation. The Mediator shall fix the time of each mediation session. The mediation shall
be held at the office of the Mediator, or at any other convenient location agreeable to the Mediator and the parties, as
the Mediator shall determine.

10.     Identification of Matters in Dispute. Prior to the first scheduled mediation session, each party shall provide
the Mediator and all attorneys of record with an Information Sheet and Request for Mediation on the form provided
by the Mediator setting forth its position with regard to the issues that need to be resolved.

       At or before the first session, the parties will be expected to produce all information reasonably required for
the Mediator to understand the issues presented. The Mediator may require any party to supplement such information.



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11.     Privacy. Mediation sessions are private. The parties and their representatives may attend mediation sessions.
Other persons may attend only with the permission of the parties and with the consent of the Mediator.

12.      Confidentiality. Confidential information disclosed to a Mediator by the parties or by witnesses in the course
of the mediation shall not be divulged by the Mediator. All records, reports or other documents received by a mediator
while serving in that capacity shall be confidential. The Mediator shall not be compelled to divulge such records or
to testify in regard to the mediation in any adversary proceeding or judicial forum. Any party that violates this
agreement shall pay all fees and expenses of the Mediator and other parties, including reasonable attorneys' fees,
incurred in opposing the efforts to compel testimony or records from the Mediator.

        The parties shall maintain the confidentiality of the mediation and shall not rely on, or introduce as evidence
in any arbitral, judicial or other proceeding: a) views expressed or suggestions made by another party with respect to
a possible settlement of the dispute; b) admissions made by another party in the course of the mediation proceedings;
c) proposals made or views expressed by the Mediator; or d) the fact that another party had or had not indicated
willingness to accept a proposal for settlement made by the Mediator.

13.     No Stenographic Record. There shall be no stenographic record of the mediation process.

14.      Termination of Mediation. The mediation shall be terminated: a) by the execution of a settlement agreement
by the parties; b) by declaration of the Mediator to the effect that further efforts at mediation are no longer worthwhile;
or c) after the completion of one full mediation session, by a written declaration of a party or parties to the effect that
the mediation proceedings are terminated.

15.     Exclusion of Liability. The Mediator is not a necessary or proper party in judicial proceedings relating to
mediation. Neither Mediator nor any law firm employing Mediator shall be liable to any party for any act or omission
in connection with any mediation conducted under these rules.

16.     Interpretation and Application of Rules. The Mediator shall interpret and apply these rules.

17.     Fees and Expenses. The Mediator's daily fee shall be agreed upon prior to mediation and shall be paid in
advance of each mediation day. The expenses of witnesses for either side shall be paid by the party producing such
witnesses. All other expenses of the mediation, including fees and expenses of the Mediator, and the expenses of any
witness and the cost of any proofs or expert advice produced at the direct request of the Mediator, shall be borne equally
by the parties unless they agree otherwise.




EXHIBIT A TO ORDER FOR REFERRAL TO MEDIATION -- Page 2




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                                                UNITED STATES DISTRICT COURT
                                                     Northern District of Texas

                                               Alternate Dispute Resolution Summary

1.           Style of case:    Robert Ross v. Association of Professional Flight Attendants, et al.

2.           Civil action number:     4:22-CV-343-Y                      2a. Date of Mediation: ______________

3.           Nature of suit:___________________________________________________________________

4.           Method of ADR used: ____ Mediation           ____ Mini-Trial ____ Summary Jury Trial

5.           Did the case settle?   ____ Before ADR ____ In ADR             ____ Did Not Settle

6.           What was your total fee?__________________________________________________________

7.           Please list persons in attendance (including party association, i.e., defendant, plaintiff):

             (Provider)___________________________                       ______________________________________

             ________________________________                            ______________________________________

             ________________________________                            ______________________________________

             ________________________________                            ______________________________________

             ________________________________                            ______________________________________

8.           Please provide the names, addresses, and telephone numbers of counsel:

             Name:___________________________                                     Name:_________________________

             Address:_________________________                           Address:_______________________

                        _________________________                                 ______________________________

             Phone:___________________________                                    Phone: ________________________

             Name:___________________________                                     Name:_________________________

             Address:_________________________                           Address:_______________________

                        _________________________                                 ______________________________

             Phone:___________________________                                    Phone: ________________________

______________________________________                                   ________________________________
Signature of Provider                                                    Date


______________________________________                                   _________________________________
Address                                                                  Phone


______________________________________                                   EXHIBIT "B" TO MEDIATION ORDER -- Page Solo

                      PROVIDER MUST ELECTRONICALLY FILE COMPLETED FORM
          WITH THE U.S. DISTRICT CLERK NO LATER THAN SEVEN DAYS FOLLOWING MEDIATION.
               IF UNABLE TO DO SO, RETURN FORM TO PLAINTIFF’S COUNSEL FOR FILING.
